Case 1:07-cr-00143-LG-RHW   Document 45   Filed 03/25/09   Page 1 of 6
Case 1:07-cr-00143-LG-RHW   Document 45   Filed 03/25/09   Page 2 of 6
Case 1:07-cr-00143-LG-RHW   Document 45   Filed 03/25/09   Page 3 of 6
Case 1:07-cr-00143-LG-RHW   Document 45   Filed 03/25/09   Page 4 of 6
Case 1:07-cr-00143-LG-RHW   Document 45   Filed 03/25/09   Page 5 of 6
Case 1:07-cr-00143-LG-RHW   Document 45   Filed 03/25/09   Page 6 of 6
